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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

    UNITED STATES OF AMERICA,
                                                   Case No. 1:16-cr-00215-BLW
                Plaintiff,
                                                   PRELIMINARY ORDER OF
        vs.                                        FORFEITURE, FINAL AS TO
                                                   DEFENDANT1
    CHRISTOPHER BOHNENKAMP,
                                                   Final Order of Forfeiture:
                Defendant.                         [ ] anticipated
                                                   [ X ] not anticipated



       This matter having come before the Court on Plaintiff’s Motion for

Preliminary Order of Forfeiture, Final as to Defendant (Dkt. 46), and as a result of

the guilty plea to Counts 21 and 22 of the Indictment, for which the Government

sought forfeiture pursuant to 18 U.S.C. § 982(a)(2)(A), the defendant shall forfeit

to the United States all property constituting or derived from proceeds the




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  A Preliminary Order of Forfeiture is final as to the Defendant. Fed. R. Crim. P. 32.2(b)(4).
Thus, in many cases, a Final Order of Forfeiture is unnecessary. In other cases, the Court will
issue a Final Order of Forfeiture to resolve third party interests or other concerns. This Order
caption reflects the United States’ current intent, expressed in its Motion, regarding whether to
seek a Final Order of Forfeiture. The Court notes that intent may change in some cases.


PRELIMINARY ORDER OF FORFEITURE, FINAL AS TO DEFENDANT - 1
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defendant obtained directly or indirectly as a result of the violations of 18 U.S.C.

§§ 1343 and 1344.

       The Court has determined, based on the defendant’s Rule 11 Plea

Agreement (Dkt. 33), and the factual basis set out therein, that the property and

property interests set out below are subject to forfeiture pursuant to 18 U.S.C. §

982(a)(2)(A), and that the government has established that the amount of

$3,685,795 constitutes proceeds of the violations and is therefore subject to

forfeiture.

       NOW, THEREFORE, THE COURT ORDERS that the United States’

Motion for Preliminary Order of Forfeiture, Final as to Defendant (Dkt. 46) is

GRANTED and the following property be and is hereby forfeited pursuant to law:

       A.     Cash Proceeds (Money Judgment): The sum of $3,685,795 in United

States currency and all interest and proceeds traceable thereto, in that such sum in

aggregate is property which constituted, or was derived from, proceeds obtained

directly or indirectly as a result of the offenses of conviction, and was subsequently

expended, spent, distributed or otherwise disposed of by the defendant.

       B.     Substitute Assets: Upon a showing that any of the properties and

interests described above as being subject to forfeiture, as a result of any action or

omission of the defendant above named:

              1.    Cannot be located upon the exercise of due diligence;


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             2.     Has been transferred or sold to, or deposited with, a third

                    person;

             3.     Has been placed beyond the jurisdiction of the court;

             4.     Has been substantially diminished in value; or

             5.     Has been commingled with other property which cannot be

subdivided without difficulty; the United States shall be authorized, pursuant to 21

U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1), to seek forfeiture of any

other property of the said defendant up to the value of the forfeitable properties and

interest herein.

      The United States is further authorized, pursuant to Fed. R. Crim. P.

32.2(b)(3) and 32.2(c)(1)(B) to conduct any discovery, including depositions,

necessary to (1) identify, locate or dispose of the property ordered forfeited herein,

any property traceable thereto, or any property that may be forfeited as substitute

assets; and (2) to expedite ancillary proceedings related to any third party interests

claimed pursuant to Section 853(n) herein. Such discovery shall be in accordance

with the Federal Rules of Civil Procedure.

      Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), this Preliminary Order of

Forfeiture shall be and hereby is final as to the defendant and shall be made part of

the sentence and included in the judgment at the time of sentencing.




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      This Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

                                             DATED: November 2, 2017


                                             _________________________
                                             B. Lynn Winmill
                                             Chief Judge
                                             United States District Court




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